 1 Martha G. Bronitsky
     Chapter 13 Standing Trustee
 2 6140 Stoneridge Mall Rd #250
     Pleasanton,CA 94588-4588
 3
     (925) 621- 1900
 4
     Trustee for Debtor(s)
 5

 6                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 7                                    OAKLAND DIVISION

 8
     In re
 9           Mario Roberto Juarez                        Chapter 13 Case No. 13-40355-RLE13

10

11
                                     debtor(s)
12      DECLARATION REGARDING DEFAULT OF STIPULATION AND REQUEST FOR
                            ORDER OF DISMISSAL
13

14           Comes now Martha G. Bronitsky, Chapter 13 Trustee in the above captioned matter, and

15 requests that the above captioned case be dismissed for cause and upon the following:

16                             DECLARATION REGARDING DEFAULT

17           The Trustee filed a Motion to Dismiss for failure to make plan payments on May 23, 2014

18 (doc#73).

19           The Debtor(s) was in default $7,020.00.

20           The Debtor(s) and Trustee entered into a Stipulation on to cure plan payments

21 ("stipulation") on May 23, 2014 (doc# 74).

22           The stipulation states the following: INCREASE PAYMENT TO $4095 FOR 18 MONTHS

23 EFFECTIVE MAY OF 2014.

24           The Court entered an Order approving the stipulation on: May 30, 2014 (doc# 75).

25           The Debtor(s) made the following payments subsequent to the stipulation: JUNE 6 $4095,

26 JULY 11 $4090, AUGUST 1 $4095.

27


Case: 13-40355        Doc# 78      Filed: 09/03/14      Entered: 09/03/14 15:40:41           Page 1 of 2
 1         The Debtor(s) is delinquent: $8780.00, under the terms of the stipulation.

 2

 3         The Debtor(s) is delinquent: $12,290.00, under the terms of the confirmed plan.

 4         Wherefore, I declare under penalty of perjury that the foregoing is true and correct.

 5 Executed this date in Pleasanton, California.

 6
     Date: September 03, 2014                                       /s/ Martha G. Bronitsky
 7                                                                  Signature of Martha G. Bronitsky
                                                                    Chapter 13 Standing Trustee
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27


Case: 13-40355       Doc# 78      Filed: 09/03/14       Entered: 09/03/14 15:40:41           Page 2 of 2
